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                 EXHIBIT F
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The Importance of Lower 700 MHz
Interoperability to the Development
of the LTE Ecosystem

                              December 3, 2012




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    Summary

    •Restoring Interoperability is the key to development
    of a robust 4G LTE ecosystem which will unleash
    additional Lower 700 MHz deployment and deliver
    consumer benefits.
    •There are no technical impediments to
    implementing Band 12 across the Lower 700 MHz
    band. Every real-world technical study confirms no
    customer impacting interference.
    •The FCC must act quickly to restore Interoperability
    across Lower 700 MHz networks.



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    Small and Regional Carriers Provide Important Consumer Benefits

    • A robust competitive marketplace requires the active participation of a variety of
      carriers – not just national carriers. Following approval of pending transaction with
      Sprint U.S. Cellular will still provide a competitive alternative for approximately 32
      million POPs. A Block license holders – exclusive of Verizon have the potential to
      address approximately 156 million POPs
    • Competition provided by small and regional carriers in many areas of rural America
      constitutes the sole competitive check on the nations largest carriers. In many markets
      there are only two effective players – a single national carrier and a single smaller
      carrier such as U.S. Cellular.
    • Carriers like U.S. Cellular have a rich tradition of innovation, risk taking and quality of
      service which has served customers well and in ways in which larger carriers have
      failed:
           - Overage Protection – first in the industry now replicated everywhere through
           “bill shock” commitments
           - Belief Project – no contracts after the first for postpaid customers
           - Battery Swap
           - J.D Power & Associates Award for Call Quality – North Central Region – 14
           consecutive periods
           - Back up power to virtually all cell sites which resulted in less than 2% of cell
           sites in states affected by Superstorm Sandy being off line.
    • Without interoperability standards, these carriers will lack the ability to continue to
      provide meaningful competition to dominant providers in the marketplace.




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Rated	  Best	  

                                                                                                        Highest call
                                                                                                        quality and
                                                                                                          network
                                           14 consecutive
                                         awards for network                                            satisfaction of
                                         quality in the North                                           any national
                                                                                                           carrier
                                           Central Region

    2011, 2012, and 2013
           voted
         Best Major
      Wireless Carrier
       according to a                                                                               PC Magazine
       reader survey                                                                           Readers’ Choice Award
                                       2011 and 2012                                            four times in the last
                                 Customer Service Champion                                            five years



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    Lower 700 MHz




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    LTE Deployment Progress

    • U.S. Cellular in partnership with King Street is deploying LTE
      on Band 12. By the end of 2012,we will have covered 58%
      of our customer base including Wisconsin, Iowa, Illinois,
      Missouri, Maine, New Hampshire, Vermont, West Virginia,
      Virginia, Tennessee, North Carolina, Washington and Oregon.
    • Together with King Street, we are the only wireless carrier
      that has been able to deploy on Band 12 but only with a
      limited set of devices. To date more than $400 million
      invested in Band 12 spectrum and more than $250 million in
      LTE Network Deployment.


     Jan 2011                Mar 2011                                                    Sept 2011




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    Current State of the Marketplace

    • The lack of interoperability in the Lower 700 MHz Band with the
      concomitant inability to gain access to Band 12 devices has resulted
      in substantial network deployment delays, particularly in the rural
      areas that otherwise would be served by Lower A Block licensees.
      Over $3 billion in stranded spectrum investment in A Block licenses
      at a time when carriers desperately need additional spectrum to
      meet booming data demand.
    • The lack of interoperability also has added to Band 12 device costs
      and significantly diminished diversity of LTE devices available to U.S.
      Cellular and other Lower A Block licensees, resulting in a limited
      Band 12 product ecosystem and providing large wireless
      competitors a commanding head start advantage.

    • Access to chipset upgrades that support Band 12 is expected to trail
      the commercial introduction of the same chipsets to non Band 12
      carriers by up to six months causing a significant lag in introducing
      new smartphones. This is a substantial problem because
      introducing up-to-date devices is a competitive necessity



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    Current State of the Marketplace - Continued

    •U.S Cellular continues to face higher costs for LTE product
    development, and delays of up to 11 months after comparable product
    introduction by large wireless competitors is not uncommon.

    •Several device manufacturers have indicated that due to the lack of
    scale around the current and near term future demand for Band 12
    devices they are unwilling to commit to manufacturing any Band 12
    devices or will only consider doing so with substantial volume and/or
    financial commitments.

    •The iPhone 5 (which doesn't include Band 12) illustrates how Band 12
    is being increasingly stranded by manufacturers of the most popular
    smartphones.




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     Current State of the Marketplace – Continued

     • Absent interoperability, small and regional carriers lack broad
       roaming capabilities, preventing them from becoming meaningful
       competitors to the large nationwide carriers.

     • During the Commission’s Forum on Future of Wireless Band Plans,
       representatives from several device component manufacturers
       confirmed the current industry practice of meeting the design needs
       of high volume customers first and in some cases going no further
       to meet the needs of Band 12 carriers.
     • Current LTE devices can only have a limited number of sub 1 GHz
       bands, thus limiting the ability of Band 12 carriers to have several
       sub 1 GHz roaming partners.




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     700 MHz LTE Smartphone Comparison




         Carrier


      Smartphones                        5                                     25                                      20



         Vendors                         2                                       8                                      7


       Operating                         1                                       3                                      3
       Systems                        (Android)                     (Android, Windows and iOS)             (Android, Windows and iOS)




       Data from http://www.phonescoop.com/ as of November 19, 2012


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     Public Policy Benefits of Restoring Interoperability

     • Consumers would benefit from a diversity of service providers
       competing based on the features, prices, and service quality.
     • Interoperability is essential to promoting economies of scale and
       alleviating inequities among Lower 700 MHz licensees by enabling
       the formation of a robust device ecosystem serving all Lower 700
       MHz licensees and their customers.
     • In the medium term, interoperability aids in the ability to permit
       consumers to change carriers without having to change out
       equipment.
     • Public safety entities would benefit from a reduced number of
       separate bands in the Lower 700 MHz. This would allow their
       devices to support affordable access to as many commercial
       networks as possible.
     • A single Lower 700 MHz band with nationwide scope would benefit
       all Lower 700 MHz customers because it would promote the
       diversity and affordability of device roaming to and from networks
       inside and outside the 700 MHz band.
     • Restoring Interoperability removes the inequity created by the
       creation of Band 17 which occurred after carriers had already made
       substantial investment in Lower A Block Licenses.
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     No Technical Impediments to Restoring Interoperability

     •   Several compelling engineering studies demonstrate that there are no
         technical impediments to Interoperability.
     •   The studies show that managing and mitigating the possible reverse
         intermodulation interference from adjacent DTV Channel 51 operations to
         Lower B and C Block operations is not an obstacle to interoperability. The
         circumstances where interference might occur would be extremely rare.
     •   The V-Comm Study relies on actual, commercially-available Band 12 and
         Band 17 devices; laboratory testing; and extensive field measurements. The
         study demonstrates conclusively that the potential for harmful interference
         due to operating in Band 12, as opposed to Band 17, is effectively non-
         existent.
     •   Laboratory tests were conducted by V-Comm on commercial devices across
         various performance scenarios to identify the performance thresholds of
         receive sensitivity for each device – representing a worst-case baseline for
         comparison.
     •   To further validate the conclusive data collected in laboratory testing,
         extensive field measurements were collected on our commercially-deployed
         LTE network in Waterloo, Iowa. Field data demonstrates that the Channel
         51 interference scenarios are simply non-existent in commercial
         deployments.
     •   There are no actual field tests in the record which contravene these
         real world test results.


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     Our Proposal


       The Commission should adopt an interoperability
       order before the end of 2012 that within six
       months (“Implementation Date”) requires;
        - that carriers operating in any portion of the Lower
          700 MHz band only provide devices to users from the
          Implementation Date forward that, (whether
          designed to operate alone or in combination via
          carrier aggregation with contiguous or non-
          contiguous spectrum in other bands), are capable of
          operating on all paired spectrum in the Lower 700
          MHz band;
        - and that all mobile networks operating within the
          Lower 700 MHz band must permit the use of such
          devices.


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     About U.S. Cellular

     • Nation’s 5th largest postpaid wireless carrier.
     • 5.9 million customers across 26 states.
     • $4 billion in revenue (2011).
     • Parent Company – Telephone & Data Systems, Inc.
       (Fortune 500).
     • LTE deployed to 58% of our customers by year-end
       2012.




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     About King Street Wireless, L.P.



     •King Street Wireless, L.P. currently holds 700 MHz
     wireless spectrum in 27 states and is partnering with
     U.S. Cellular to deliver high-speed 4G LTE service to
     U.S. Cellular's customers in several of the carrier's
     markets. King Street Wireless is headquartered in
     Alexandria, Virginia where it is recognized for its
     involvement in its community both through its
     economic development and philanthropic efforts. To
     learn more about King Street Wireless, visit
     www.kingstreetwireless.com.




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